     Fill in this information to identify the case:

     Debtor 1 JAMES MICHAEL LITTLE
     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the: Middle District of Pennsylvania
     Case number 1:23-bk-02273-HWV




 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                       12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest
 in the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
 this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
 3002.1.

  Name of creditor: Freedom Mortgage Corporation                                Court claim no. (if known): 4
  Last four digits of any number you           4656                            Date of payment change:                    12/01/2024
  use to identify the debtor’s account:                                        Must be at least 21 days after date of
                                                                               this notice

                                                                               New total payment:                        $1,270.45
                                                                               Principal, interest, and escrow, if any

  Part 1: Escrow Account Payment Adjustment
     Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
            Describe the basis for the change. If a statement is not attached, explain why:

            Current escrow payment: $ 307.57             New escrow payment:         $ 371.59



  Part 2: Mortgage Payment Adjustment
     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
     rate note?
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
            attached, explain why:

                Current interest rate:                               %              New interest rate:                               %

               Current principal and interest payment: $ _________               New principal and interest payment: $ __


  Part 3: Other Payment Change
     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
           modification agreement. (Court approval may be required before the payment change can take effect.)

               Reason for change:


               Current mortgage payment: $                         New mortgage payment: $




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   Debtor1   JAMES MICHAEL LITTLE                                     Case number (if known) 1:23-bk-02273-HWV
             First Name           Middle Name        Last Name


   Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
   telephone number.

   Check the appropriate box.
     I am the creditor.

     I am the creditor’s authorized agent.



   I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
   information, and reasonable belief.



    /s/ Mario Hanyon
       Signature
                                                                                     Date 11/08/2024



   Print: Mario Hanyon (203993)
         First Name           Middle Name            Last Name                       Title Attorney



   Company Brock & Scott, PLLC

             Address 3825 Forrestgate Dr.
             Number                    Street


             Winston-Salem, NC 27103
             City         State        ZIP Code


   Contact phone 844-856-6646                                                        Email PABKR@brockandscott.com




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                                IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                             Harrisburg Division


 IN RE:
 JAMES MICHAEL LITTLE                                            Case No. 1:23-bk-02273-HWV
                                                                 Chapter 13
 Freedom Mortgage Corporation,
          Movant

 vs.

 JAMES MICHAEL LITTLE ,
        Debtor




                                            CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that a true and exact copy of the foregoing Notice of Mortgage Payment Change
has been electronically served or mailed, postage prepaid on this day to the following:

Via Electronic Notice:

Michael A. Cibik, Debtor's Attorney
Cibik Law, P.C.
1500 Walnut St, Suite 900
Philadelphia, PA 19102
mail@cibiklaw.com


Jack N Zaharopoulos, Bankruptcy Trustee
8125 Adams Drive, Suite A
Hummelstown, PA 17036

US Courthouse, US Trustee
1501 N. 6th St
Harrisburg, PA 17102




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Via First Class Mail:

James Michael Little
120 S Landvale St
York Haven, PA 17370-9011



Date: November 8, 2024
                                      /s/Mario Hanyon
                                      Andrew Spivack, PA Bar No. 84439
                                      Matthew Fissel, PA Bar No. 314567
                                      Mario Hanyon, PA Bar No. 203993
                                      Ryan Starks, PA Bar No. 330002
                                      Jay Jones, PA Bar No. 86657
                                      Attorney for Creditor
                                      BROCK & SCOTT, PLLC
                                      3825 Forrestgate Drive
                                      Winston Salem, NC 27103
                                      Telephone: (844) 856-6646
                                      Facsimile: (704) 369-0760
                                      E-Mail: PABKR@brockandscott.com




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